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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              BUTTE DIVISION

 UNITED STATES OF AMERICA,                            CR 20–12–BU–DLC

                      Plaintiff,

 vs.                                                         ORDER

 JUSTIN PATRICK KLINE,

                       Defendant.

       Before the Court is the United States’ Unopposed Motion for Preliminary

Order of Forfeiture. (Doc. 46.) On October 22, 2020, Defendant Justin Patrick

Kline pled guilty to the sole count of the Superseding Information (Doc. 32), which

charged him with receipt of a firearm and ammunition with intent to commit a

felony, in violation of 18 U.S.C. § 924(b). (Docs. 41.) The Superseding

Information also contained a forfeiture allegation. (Doc. 32 at 2.) Mr. Kline’s

guilty plea provides a factual basis and sufficient cause to issue an order of

forfeiture, pursuant to 18 U.S.C. § 924(d) and Federal Rule of Criminal Procedure

32.2(b)(2).

       Accordingly, IT IS ORDERED that the United States’ motion (Doc. 46) is

GRANTED.

       IT IS FURTHER ORDERED that, pursuant to 18 U.S.C. § 924(d), Mr.

Kline’s interest in the following property is forfeited to the United States:

                                           1
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       •      Sun City Machinery Co. (Importer Savage Arms, Inc.), model Stevens
              model 320, 12 gauge slide-action shotgun (serial number 160518K);
              and

       •      504 rounds of assorted ammunition.

       IT IS FURTHER ORDERED that the United States Marshals Service and

the Bureau of Alcohol, Tobacco, Firearms, and Explosives are directed to seize the

property subject to forfeiture and further to make a return as provided by

applicable law.

       IT IS FURTHER ORDERED that the United States shall provide written

notice to all third parties asserting a legal interest in any of the above-described

property and will post on an official government internet site (www.forfeiture.gov)

for at least 30 consecutive days as required by Rule G(4)(a)(iv)(C) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions of the Court’s Preliminary Order and the United States’ intent to dispose

of the property in such manner as the Attorney General may direct, pursuant to 18

U.S.C. § 924(d) and 21 U.S.C. § 853(n)(1), and to make its return to this Court that

such action has been completed.

       IT IS FURTHER ORDERED that upon the United States satisfaction of the

above-mentioned requirements and adjudication of all asserted third-party interests

in the above-described property, if any, the Court will enter a final order of

forfeiture.

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DATED this 6th day of November, 2020.




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